

Matter of Raymond S.H. v Nefertiti S.M. (2021 NY Slip Op 00234)





Matter of Raymond S.H. v Nefertiti S.M.


2021 NY Slip Op 00234


Decided on January 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 14, 2021

Before: Manzanet-Daniels, J.P., Gische, Kapnick, Singh, Mendez, JJ. 


Docket No. V-34060-15/18B Appeal No. 12869 Case No. 2019-5700 

[*1]In the Matter of Raymond S.H., Petitioner-Respondent,
vNefertiti S.M., Respondent-Appellant.


Geoffrey P. Berman, Larchmont, for appellant.
Douglas H. Reiniger, New York, for respondent.
John R. Eyerman, New York, attorney for the child.



Order, Family Court, New York County (Jessica Brenes, Referee), entered on or about June 13, 2019, which granted petitioner father's petition to modify an existing final custody and visitation order to grant him sole custody of the parties' child and to eliminate respondent mother's therapeutic visitation with the child, unanimously affirmed, without costs.
We decline to consider the mother's arguments regarding visitation as she sets forth no reason why her arguments were not rendered moot by the Family Court's subsequent grant of her petition to modify the order for review on the issue of visitation. Furthermore, any error committed by the Family Court in awarding the father sole custody was harmless. The father was awarded sole custody of the child in 2015 and that custody arrangement has not changed. Accordingly, it makes no difference that the Family Court awarded the father sole custody again upon his modification petition.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 14, 2021








